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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

SHENZHEN CARKU TECHNOLOGY CO.,
LTD.
                                                    Plaintiff,
v.                                                               Case No.: 1:22−cv−03403
                                                                 Honorable Sunil R. Harjani
Shenzhen Xinzexing E−commerce Co., Ltd.
                                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 3, 2024:


        MINUTE entry before the Honorable Sunil R. Harjani: Status hearing set for
5/8/2024 is stricken and reset to 6/13/2024 at 9:15 a.m. by telephone. The Court has
reviewed the "joint" status report [42]. Plaintiff's counsel has not taken any position on
any of the matters in the status report, anticipating withdrawal, but has not yet moved to
withdraw. That is not appropriate. Either counsel, who has an appearance on file, follow
this Court's orders or moves to withdraw. The status report [42] is stricken and a new joint
status report is ordered 6/7/2024. If this occurs again, the Court will consider dismissing
this case for want of prosecution. Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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